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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
      Plaintiff,                               )    CR. NO. 2:19-cr-20075-TLP
                                               )
vs.                                            )
                                               )
RICHARD FARMER                                 )
                                               )
      Defendant.                               )

____________________________________________________________________________

        ORDER GRANTING MOTION TO WITHDRAW NOTICE OF FORFEITURE
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      Upon the motion of the United States, the Government’s Motion to Withdraw its Notice of

Forfeiture is GRANTED.



      It is so ordered, this the 21st day of February, 2020.



                                            s/Thomas L. Parker________________
                                            THOMAS L. PARKER
                                            UNITED STATES DISTRICT JUDGE
                                            WESTERN DISTRICT OF TENNESSEE
